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          Of Attorneys for Defendant Erik Kammerer




                               IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                         PORTLAND DIVISION


   MEGHAN OPBROEK, an individual,                       No. 3:22-cv-00610-JR

                  Plaintiff,
                                                        DEFENDANT ERIK KAMMERER’S
          v.                                            ANSWER TO PLAINTIFF’S SECOND
                                                        AMENDED COMPLAINT
   CITY OF PORTLAND, a municipal
   corporation, and ERIK KAMMERER in his                Jury Trial Demanded
   individual capacity;

                  Defendants.

          In answer to Plaintiff’s Second Amended Complaint, Defendant Kammerer (“Defendant”)
   admits, denies, and alleges as follows:

          Plaintiff’s introductory remarks contain characterizations and legal conclusions to which a

   response is not required. To the extent a response is required, Defendant denies all characterizations

   of Defendant Kammerer, his motivations, and actions.

                                                 PARTIES

          1.      Defendant admits he was employed as a detective by the Portland Police Bureau

   (PPB) and that the Portland Police serve as law enforcement for the City of Portland.


Page 1 - DEFENDANT ERIK KAMMERER’S ANSWER TO                                          HART WAGNER LLP
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                                       FACTUAL ALLEGATIONS

           2.      Defendant lacks sufficient information or knowledge to admit or deny the allegations

   in Paragraph 6 of Plaintiff’s Second Amended Complaint regarding her history, awareness, and

   beliefs, and therefore denies the same.

           3.      Defendant admits that on May 25, 2020, police officers caused the death of

   George Floyd, and that protests, demonstrations, civil disturbances, and riots then ensued across

   the country, including for more than 100 days in Portland, Oregon.

           4.      Defendant admits the protests in Portland took place at various locations around the
   City.

           5.      Defendant lacks sufficient information or knowledge to admit or deny the allegations

   in Paragraphs 10 through 13 of Plaintiff’s First Amended Complaint regarding Plaintiff’s attendance,

   motivations, or observations of protests and therefore denies the same.

           6.      Defendant admits that on the evening of June 25, 2020, into the morning of June 26,

   2020, after the declaration of an unlawful assembly, the announcement of multiple dispersal

   orders and use of force warnings, PPB and other law enforcement officers moved north on

   Martin Luther King to disperse protestors who had refused to heed the lawful dispersal orders.

   Defendant further admits that some officers used distraction devices during that move.

           7.      Defendant admits that declarations of unlawful assembly, dispersal orders, and use of

   force warnings continued after officers stopped moving. Defendant further admits that some

   protestors continued to refuse to heed the lawful dispersal orders. Defendant otherwise lacks

   sufficient information or knowledge to admit or deny the allegations in Paragraphs 14 through 17 of

   Plaintiff’s Second Amended Complaint regarding Plaintiff’s encounter with PPB officers, statements

   to the PPB, or Plaintiff’s specific actions, and therefore denies the same.

           8.      Defendant admits that he deployed the RBDD referenced in Paragraph 17 of

   Plaintiff’s Second Amended Complaint but denies the remaining allegations of that paragraph.

           9.      Defendant admits that the RBDD injured plaintiff.


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          10.     Paragraph 19 contains legal conclusions to which a response is not required. To the

   extent a response is required, Defendant denies the conclusions therein.

          11.     Defendant denies Paragraphs 20, 21 and 22 of the Second Amended Complaint.

          12.     Defendant admits that plaintiff went to the emergency room and received

   treatment. Defendant denies the remainder of Paragraphs 23, 24, 25 and 26 of the Second

   Amended Complaint.

          13.     Paragraphs 27 through 29 of Plaintiff’s Second Amended Complaint are not

   directed at Defendant Kammerer. Those Paragraphs also contain legal conclusions to which a
   response is not required. To the extent a response is required, Defendant denies those allegations.

          14.     Except as specifically admitted herein in paragraphs 1 through 13 above,

   Defendant denies each and every remaining allegation of Plaintiff’s Second Amended Complaint

   and the whole thereof.

                                             FIRST DEFENSE

                                         (Failure to State a Claim)

          15.     Plaintiff fails to state a claim for relief under federal or state law.

                                            SECOND DEFENSE

                                           (Qualified Immunity)

          16.     Defendant Kammerer is entitled to qualified immunity.

                                             THIRD DEFENSE

                                         (Oregon Tort Claims Act)

          17.     Plaintiff’s state law claims are subject to the privileges and immunities set forth in

   the Oregon Tort Claims Act, ORS 30.260 et seq. Plaintiff’s damages are limited by the cap on

   damages set forth in the Oregon Tort Claims Act as to all state law claims.

                                           FOURTH DEFENSE

                                                (Justification)

          18.     Defendant’s actions were lawful and justified as those actions were necessary to


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   carry out his duties as a police officer.

                                               FIFTH DEFENSE

                                                 (Privilege)

           19.     Defendant’s actions were privileged as those actions were necessary to carry out

   his duties as a law enforcement officer.

                                               SIXTH DEFENSE

                                     (Immunity – ORS 30.265(6)(e))

           20.     The claims asserted by plaintiff arose out of a riot, civil commotion, or mob
   action, or out of an act or omission in connection with the prevention of the foregoing and

   accordingly, defendant is entitled to immunity pursuant to ORS 30.265(6)(e)).

                                          SEVENTH DEFENSE

                                                (Good Faith)

           21.     Any actions taken or any other conduct by defendant were done in good faith,

   based on reasonable grounds.

                                           EIGHTH DEFENSE

                                           (Additional Defenses)

           22.     Defendant reserves the right to raise additional defenses that may become apparent

   during discovery.

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Page 4 - DEFENDANT ERIK KAMMERER’S ANSWER TO                                        HART WAGNER LLP
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          WHEREFORE, having fully answered Plaintiff’s Second Amended Complaint,

   Defendant prays for judgment in his favor, including an award of costs, disbursements, and fees

   pursuant to 42 U.S.C. § 1988.

          Respectfully submitted this 27th day of January, 2025.

                                                       HART WAGNER LLP


                                                By:    /s/ Karen O’Kasey
                                                       Karen O'Kasey, OSB No. 870696
                                                       Taylor B. Lewis, OSB No. 164263
                                                       Of Attorneys for Defendant Erik Kammerer


          Defendant requests trial by jury on those issues properly submitted to a jury.


                                                       /s/ Karen O’Kasey
                                                       Karen O’Kasey




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                                   CERTIFICATE OF SERVICE
          I hereby certify that on the 27th day of January, 2025, I served the foregoing

   DEFENDANT ERIK KAMMERER’S ANSWER TO PLAINTIFF’S SECOND

   AMENDED COMPLAINT on the following party at the following address:

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             Of Attorneys for Defendant
             City of Portland


   by electronic means through the Court’s Case Management/Electronic Case File system.



                                                       /s/ Karen O’Kasey
                                                       Karen O’Kasey




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